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             10                              UNITED STATES DISTRICT COURT
             11                            EASTERN DISTRICT OF CALIFORNIA
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             13 GERALD CARLIN, JOHN RAHM, PAUL                    CASE NO. 1:09 CV 00430 (AWI)
                ROZWADOWSKI and DIANA WOLFE,
             14 individually and on behalf of themselves and      CLASS ACTION
                all others similarly situated,
             15                                                   ORDER GRANTING DEFENDANT'S
                                Plaintiffs,                       REQUEST TO SEAL DOCUMENTS AND
             16                                                   FILE REDACTED VERSIONS
                        v.
             17
                DAIRYAMERICA, INC. and CALIFORNIA
             18 DAIRIES, INC.,
             19                Defendants.

             20

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             22                                         [PROPOSED] ORDER
             23         IT IS HEREBY ORDERED:
             24         This matter comes before the Court on Defendant California Dairies, Inc. (“California
             25 Dairies”)'s Notice of Request and Request to Seal Documents and File Redacted Versions

             26 ("Request") pursuant to Civil Local Rules 140 and 141.

12046205.1   27                                                                            [1:09 CV 00430 (AWI)]
                                                                -1-
                                                                       [PROPOSED] ORDER GRANTING REQUEST TO
             28                                                           SEAL DOCUMENTS AND FILE REDACTED
                                                                                                      VERSIONS
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              1         Upon consideration of the Request, the papers submitted in support and in opposition

              2 thereto, and good cause appearing, the Request is GRANTED.

              3         Accordingly, it is hereby ordered that California Dairies is permitted to file a redacted

              4 version of California Dairies, Inc.'s Memorandum Of Law In Support Of Motion To Dismiss

              5 Plaintiffs' Third Amended Class Action Complaint Pursuant To FRCP 12(B)(6) ("Memorandum

              6 of Law") on the public docket.

              7         California Dairies will email the unredacted version of the Memorandum of Law to

              8 ApprovedSealed@caed.uscourts.org for filing under seal.

              9         Only the parties' counsel of record and the Court and its staff shall have access to the

             10 unredacted Memorandum of Law.

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                  IT IS SO ORDERED.
             12
                  Dated: March 25, 2016
             13                                              SENIOR DISTRICT JUDGE
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12046205.1                                                        -2-                        [1:09 CV 00430 (AWI)]
             28                                                          [PROPOSED] ORDER GRANTING REQUEST TO
                                                                            SEAL DOCUMENTS AND FILE REDACTED
                                                                                                        VERSIONS
